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UNITED STATES DISTRICT COURT AUG 3 0 2005

FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION MICHAEL W. DOBBINS

‘ GLERK, U.6. OIATRICT COURT
VELAW SALTER

 

CIVIL ACTION

 

(Name of the plaintiff or plaintiffs)

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Lopolsihliu luis, OSE 5001
}
)
)

 

 

 

 

 

JUDGE CASTILLG
(Name of the defendant or defendants)
MAGISTRATE JUBGE KEYS
COMPLAINT OF EMPLOYMENT D RIMINATION

1. This is an action for employment discrimination.
2. The plaintiff is LER, AV LAs A, MES of the

ef *
county of C OO OE _in the state of Z ZL LZ LEO ES

 

3. The defendant is ZL. e Veo fal drhe hod [ 7 Las Jet , Whose

street address 15 a f LO SS f Mf Les ’

(city) LV dtotoo (county), wef (state) / Ze (zp) Bol 3
(Defendant’s telephone number) (FOR) - Af 6 -~ FH AS

4. The plaintiff sought employment or was employed by. the defendant at (strect address)

QL bho Si Frvsl fl Lk, (city) 27 BV Lesaod

(county) Cea fo (state) /Z£, (ZIP code) 69/54

 

5. The plaintilf [check one box]
@L] was denied cmployment by the defendant.

yl] s hired and is still employed by the defendant.
ol es employed but is no longer employed by the defendant.

 
 

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6. The defendant discriminated against the plaintiff on or about, of beginning on or about,

(month). MEY (day) /O (year) Boo 4

7.1 (Choose paragraph 7] or 7.2, do not complete both.)
(a) The defendant is not a federal governmental agency, and the plaintiff [cheek one.

| has filed a charge or charges against the defendant
box] nas
asserting the acts of discrimination indicated in this complaint with any of the following government

agencies:

(i) hones States Equal Employment Opportunity Commission, on or about
monty Pourly — ay)_& wea Baas

(ii) | the Illinois Department of Human Rights, on or about

(month) (day) (year)
(b) If charges were filed with an agency indicated above, a copy of the charge is

 

attached. Jes. [] NO, but plaintiff will file a copy of the charge within 14 days:

It is the policy of both the Equal Employment Opportunity Commission and the Illinois Department
of Human Rights to cross-file with the other agency all charges received. The plaintiffhas no reason

to believe that this policy was not followed in this case.

7.2 The defendant is a federal governmental agency, and
(a) the plaintiff previously filed a Complaint of Employment Discrimination with the

defendant asserting the acts of discrimination indicated in this court complaint.

LI Yes (month) ___ (day)
CI No, did not file Complaint of Employment Discrimination

__ (year)

 

 

2. The plaintiff received a Final Agency Decision on (month) _
(day) (year) ___
c. Attached is a copy of the

a. Complaint of Employment Discrimination,
CJ YES CI NO, but a copy will be filed within 14 days.

(ii) Final Agency Decision

C] YES LJ NO, but a copy will be filed within 14 days.
 

 

ne

10.

11.

12,

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(Complete paragraph 8 only if defendant is not a federal governmental agency.)

aw] the United States Equal Employment Opportunity Commission has not issued a
Notice of Right to Sue.

)L_| the United States Equal Employment Opportunity Commission has issued a Notice

of Right to Sue, which was received by the plaintiff on (month)
(day) Ae (year) AOD S a copy of which Notice 1s attached to this

complaint.

 

The defendant discriminated against the plaintiff because of the plaintiff s [check only those
that apply):

cayL_] Age (Age Discrimination Employment Act).

(b)L-] Color (Title VII of the Civil Rights Act of 1964 and 42 U.S.C, $1981).

(LJ Disability (Americans with Disabilities Act or Rehabilitation Act)

aL] National Origin (Title VII of the Civil Rights Act of 1964 and 42 U.S.C, $1981).
ol Kec (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. §1981).

()[_] Religion (Title VII of the Civil Rights Act of 1964)

(2) Sex (Title VII of the Civil Rights Act of 1964)

If the defendant is a state, county, municipal (city, town or village) or other local

governmental agency, plaintiff further alleges discrimination on the basis of race, color, or

national origin (42 U.S.C. § 1983).
Jurisdiction over the statutory violation alleged is conferred as follows: for Title VII claims

by 28 U.S.C.§1331, 28 U.8.C.§1343(a)(3), and 42 U.S.C.§2000e-5(f)(3): for 42 U.8.C.81981
and §1983 by 42 U.S.C.§1988; for the A.D.B.A. by 42 U.S.C.§12117; for the Rehabilitation
Act, 29 U.S.C. § 791.

The defendant [check only those that apply|

(a) Ce the plaintiff.
(b) terminated the plaintiff's employment.

oJ failed to promote the plaintiff.

 
 

13.

14.

15.

16.

 

 

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aL] failed to reasonably accommodate the plaintiff's religion.
(c)[__] failed to reasonably accommodate the plaintiff's disabilities.
ol] failed to stop harassment,

{ gL retaliated against the plaintiff because the plaintiff did something to assert
rights protected by the laws identified in paragraphs 9 and 10 above;

(ny L_| other (specify):

 

 

 

 

 

 

The facts supporting the plaintiit's claim of discrimination are as follows:

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Shere bas be Cw Ahr Alea - ble CASS
OF Sine Ld te polity AL hedge iad aig

For in Lee

Aitd bald S Lanse. Ta. Meg Thee Gaxbs,

 

 

[AGE DISCRIMINATION ONLY] Defendant knowingly, iptentionally, and willfully
discriminated against the plaintiff. Wi
yes [L]no

THEREFORE, the plaintiff asks that the court grant the following relief to the plaintiff

The plaintiff demands that the case be tried by a jury.

[check only those that apply|

(a) a pies the defendant to hire the plaintiff.
(b) Direct the defendant to re-employ the plaintiff.
ceyL_] Direct the defendant to promote the plaintiff.

ayL_] Direct the defendant to reasonably accommodate the plaintiffs religion.

ce] Direct the defendant to reasonably accommodate the plaintiffs disabilities.

 
 

 

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aL] Direct the defendant to (specify):

 

 

 

 

 

ol} lf available, grant the plaintiff appropriate injunctive relief, lost wages,
liquidated/double damages, front pay, compensatory damages, punitive damages,
prejudgment interest, post-judgment interest, and costs, including reasonable attomey
fees and expert witness fees.

(h) Grant such other relief as the Court may find appropriate.

   

P laintiff 7 name)
PERRY AASSLTERS
(Plaintiff's street address)

S32 £574 YO,

(city, Le res 7 24 (state) (Le ain ofS 2
(Plaintiff's telephone number) (223)-7 7 /- 5 9% wz Ge

 

 

Date: Meg: So, Z2ooy
 

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EEOC Form 5 (501)

 

CHARGE OF DISCRIMINATION Charge Fresented To: Agency(ies) Charge No(s):
This form ts affected by the Privacy Act of 1874, Seq anciosad Privacy Act [J FEPA

Statement and other information before completing this form.
[x] eEoc 210-2005-06632

 

 

litinois Department Of Human Rights oe and EEOC
$iate or focal Agency, ff any

 

 

Name (indicate Mdr,, Ms., Mrs.) Home Phone No. (ine! Area Code} Bate of Birth

Mr, Perry N. Walters (708) 771-5928 06-13-1946

 

 

 

Street Address Clty, State and ZIP Code

330 Lathrop, Forest Park, IL 60130

 

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committea, or State or Local Government Agency That | Believe
Discriminated Against Me or Others. (/f more than two, list under PARTICULARS below.)

 

 

 

 

 

 

 

 

Name No. Eniployees, Menibers Phone No. (include Area Code)
LOYOLA UNIVERSITY MEDICAL CENTER _ 500 or More (708) 216-4918
Sireet Address City, State and ZIP Code
2160 S Ist Avenue, Maywood, IL 60153
Name No, Employees, Membere Phone No. (faciude Ara Cota)
Street Address City, State and ZIP Code
DISCRIMINATION BASED ON (Check appropriate box/as].) DATE(S) DISCRIMINATION TOOK PLACE

Eartest Latest

[x] RACE [| COLOR [| SEX {| RELIGION [_] NATIONAL ORIGIN 40-28-2004

10-28-2004
[| RETALIATION [—] AGE [| DISABILITY I OTHER (Specify below.)

[| CONTINUING ACTION

 

 

THE PARTICULARS ARE (if additional paper is needed, attach extra sheet(s)):

twas employed by Respondent in November, 1997. My most recent position was Electrician, In or
around October, 2004, | was falsely accused of a policy violation by Respondent and | was subsequently
terminated on October 28, 2004. Non-Black co-workers who have been involved in policy violations
have been alowed to attend training and/or counseling and have retained thelr positions at
Respondent's facility.

| believe | have been discriminated against because of my race, Black, in violation of Title VII of the Civil
Rights Act of 1964, as amended.

RECEIVED EEQG

te

JUL G Gates

CHICAGO DISTRICT OFFICE

 

Twant this charge filed with both tha EEOC and the State or local Agency, if any. Iwill | NOTARY — lVhen necessary for State and Local Agency Requirements
advise the agencies if | change my address or phone number and | will Cpoperate fully
with them in the processing of my charge in accordance with their procedures.

 

| swear or affirm that | have read the above charge and that itis true to

 

 

i declare under penalty of perjury that the above is true and correct. the bast of my knowtedge, information and belief.
: SIGNATURE OF COMPLAINANT

  
 
    

.
SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
(month, day, year}

 
 
  

Jul 06, 2005
Date

JA Led

Party Signature

— tl

 

 

 

 

 

 
 

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Equal Employment Opportunity Commission

 

DISMISSAL AND NOTICE OF RIGHTS

 

To: Perry Walters From: US Equal Employment Opportunity Commission
330 Lathrop Chicago District Office
Forest Park, IL 60130 §00 West Madison, Suite 2800

Chicago, IL 60661

Cert, No.: 7099 3400 0014 4055 7253

I | Gn behalf of a person aggrieved whose identity is
CONFIDENTIAL (29 CFR § 1601. 7{a))
Charge No. EEOC Representative Telephone No.
210-2005-06632 Regina Husar, Enforcement Supervisar (312) 353-0819

 

 

(See the additional information attached to this form.)
YOUR CHARGE 18 DISMISSED FOR THE FOLLOWING REASON;
lL |] The facts you allege fail to stale a claim under any of the statutes enforced by the Commission

{ ] Respondent employs less than the required number of employees.

[ } Your charge was not timely filed with the Commission, /¢., you waited too long afler the date(s) of the discrimination you alleged to
file yout charge. Because it was filed outside the time limit prescribed by law, the Commission cannol invesligate your allegations.

[ ] You failed to provide requested information, failed or refused to appear or to be available for necessary interviews/conlerences, or

otherwise refused to cooperate ta the extent that (he Commission has been unable to resolve your charge. You have had more than 30
days in which to respond to our final writlen request.

[ ] The Commission has made reasonable efforts ta locate you and has been unable to do so. You have had at least 30 days in which to
respond to a notice sent to your last known address,

[ ] The respondent has made a reasonable settlement offer which atfords full relief for the harm you alleged. At least 30 days have
expired since you reccived actual notice of this settlement offer.

[ X | | The Commission issues the following determination: Based upon the Commission's investigation, the Commission is unable to conclude

that the information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with the
statutes. No finding is made as to any other issucs that might be construcd as having been raised by this charge.

 

i ] Other (briefly state)

- NOTICE OF SUIT RIGHTS -

[x ] Title VIL and/or the Americans with Disabilities Act: This is your NOTICE OF RIGHT TO SUE, which terminates the

Commission's processing of your charge. If you want to pursue your charge further, you have the right to suc the respondent(s) named in
your charge in a court of competent jurisdiction. If you decide to sue, you must sue WITHIN $0 DAYS from your receipt of this Notice;
otherwise your right to sue is lost.

[ ] Age discrimination in Employment Act: This is your NOTICE OF DISMISSAL OR TERMINATION, which terminates processing

of your charge. If you want to pursue your charge further, you have the tight to sue the respondent(s} named in your charge in a court of
competent jurisdiction. Ifyou decide to sue, you must sue WITHIN 90 DAYS from your receipt of this Notice; otherwise your right to
suc ig lost.

lL ] = Equal Pay Act (EPA): EPA suils must be brought within 2 years (3 years for willful violations) of the alleged FPA underpayment.

On behalf of the Commission

(iugest {3 ) ACS Optir ia HA py

JokP. Rowe, District Director

Enclosures
Infomation Sheet
Copy of Charge
cc! Respondent(s) Loyola Medical Center
EEOC Foun 161 (Test 3/95}

 
